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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LAWRENCE FLYNN and ARLENE                :
REINFORD,                                :
                                         :
                       Plaintiffs,       :
                                         : NO. _____________
       vs.                               :
                                         :
BIG SPRING SCHOOL DISTRICT,              :
BIG SPRING BOARD OF SCHOOL               :
DIRECTORS, DR. KEVIN C.                  :
ROBERTS, JR., JOHN WARDLE,               :
WILLIAM SWANSON, ROBERT                  :
OVER, FRANK MYERS, TODD                  :
DEIHL, RICHARD ROUSH and                 :
WILLIAMS PIPER;                          :
45 Mount Rock Road,                      :
Newville, PA 17241                       :
                  Defendants.            :


                                     COMPLAINT
      Plaintiffs Lawrence Flynn and Arlene Reinford (together, “Plaintiffs”), by

and through their undersigned legal counsel, bring this Complaint against

Defendants Big Spring School District, Big Spring Board of School Directors, Dr.

Kevin C. Roberts, Jr., John Wardle, William Swanson, Robert Over, Frank Myers,

Todd Deihl, Richard Roush and Williams Piper (collectively, “Defendants”), and

in support thereof aver as follows:




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                            JURISDICTION AND VENUE
       1.       This Court has jurisdiction over this matter under 28 U.S.C. § 1331

and 28 U.S.C. § 1343.

       2.       Venue is proper in this district under 28 U.S.C. § 1391(b) in that the

actions giving rise to Plaintiffs’ allegations occurred in the Middle District of

Pennsylvania, Plaintiff reside within the Middle District of Pennsylvania, and

Defendants are all located within the Middle District of Pennsylvania.

                             FACTUAL ALLEGATIONS
       3.       Plaintiffs Lawrence Flynn and Arlene Reinford are residents within

the Big Spring School District (“District”).

       4.       The District is a governmental entity governed by the provisions of

the Public School Code of 1949, 24 P.S. § 1-101 et seq. and is located within

Cumberland County at the following address: 45 Mt. Rock Road, Newville, PA

17241.

       5.       The Big Spring School Board (“Board”) is the governing body of

elected officials administering the District under the Public School Code, 24 P.S.

§§ 1-101 et seq.

       6.       Dr. Kevin C. Roberts, Jr. is the Superintendent of Schools for the

District.




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      7.     John Wardle, William Swanson, Robert Over, Frank Myers, Todd

Deihl, Richard Roush and Williams Piper are individual members of the Board and

public officials. Collectively, these individuals are referred to herein as “Board

Defendants.”

      8.     Under the Public School Code and the Sunshine Act, Defendants may

only discuss and take official action on items during advertised public meetings in

which members of the public may attend and offer public comment. See 24 P.S. §

4-421; 65 Pa.C.S. §§ 701 et seq.

      9.     Under the Sunshine Act, Defendants are permitted to adopt “by

official action the rules and regulations necessary for the conduct of its meetings

and the maintenance of order;” however, such “rules and regulations shall not be

made to violate the intent of” the Sunshine Act. 65 Pa.C.S. § 710.

      10.    On or about April 22, 2013, the District and Board set forth a policy

stating, “No placards or banners will be permitted within the meeting room.” See

Board Policy 903, attached hereto as Exhibit A.

      11.    Although this policy exists, Defendants chose not to enforce this

policy during its public meetings.

      12.    Defendant Swanson specifically noted that, with respect to signs, “we

have never covered this before…” See Maddie Seiler, “Big Spring School Board




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adjourns early for the first time in at least 18 years,” The Sentinel, attached hereto

as Exhibit B.

      13.    Defendant Swanson noted that Defendants chose “not to follow right

to the letter policy, which is my prerogative and the [B]oard’s prerogative” with

respect to signage between August of 2021 until its February 7, 2022 Board

meeting.

      14.    Plaintiffs have been vocal critics of Defendants during public school

board meetings.

      15.    On September 7, 2021, Plaintiff Flynn attended a public meeting of

the Board and spoke against requiring students to wear face masks. 1

      16.    During the September 7, 2021 Board meeting, Plaintiff Flynn

borrowed a homemade sign and held it during the meeting. See Maddie Seiler,

“Raised signs raise questions at Big Spring school board meetings,” The Sentinel,

attached hereto as Exhibit C.

      17.    On October 4, 2021, Plaintiffs both attended a public meeting of the

Board and spoke against the face covering requirement. 2



1
  See Big Spring School District meeting minutes of September 7 2021, available at
https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/69/9-7-
2021%20Board%20Agenda%20Minutes.pdf.
2
  See Big Spring School District meeting minutes of October 4 2021, available at
https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/69/10-4-
2021%20Board%20Meeting%20Minutes.pdf.
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      18.    Plaintiff Flynn brought a homemade sign with him and held it during

the October 4, 2021 meeting.

      19.    On October 18, 2021, Plaintiff Reinford attended a public meeting of

the Board and offered public comment in opposition to the face covering

requirement. 3

      20.    On November 15, 2021, Plaintiffs attended the Board meeting that

date and offered comments regarding the requirement for students to wear face

coverings and the recent elections. 4

      21.    Plaintiff Flynn held a homemade sign during the November 15, 2021

meeting.

      22.    On December 6, 2021, Plaintiff Reinford spoke against requiring

students to wear face coverings. 5




3
  See Big Spring School District meeting minutes of October 18 2021, available at
https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/69/10-18-
2021%20Board%20Meeting%20Minutes.pdf.
4
  See Big Spring School District meeting minutes of December 6, 2021, available
at https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/69/11-15-
21%20Board%20Meeting%20Minutes.pdf.
5
  See Big Spring School District meeting minutes of December 6, 2021, available
at https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/23/12-6-
21%20Board%20Meeting%20Minutes.pdf.
                                        5
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      23.    On January 10, 2022, Plaintiff Reinford spoke against requiring

students to wear face coverings. 6

      24.    Between September 7, 2021 and February 7, 2022, Plaintiff Reinford

held signs during seven Board meetings.

      25.    On January 11, 2022, District Superintendent Kevin C. Roberts, Jr.

left a voicemail for Plaintiff Reinford, accusing her of having placed a sticker on a

bathroom door.

      26.    The next day (January 12, 2022), Superintendent Roberts and Plaintiff

Reinford spoke and agreed that Plaintiff Reinford would not place any further

stickers on school property.

      27.    Neither party discussed barring Plaintiff Reinford from school

property, and, in fact, Plaintiff Reinford was permitted to attend future Board

meetings.

      28.    On February 7, 2022, Plaintiff Flynn carried a handmade, poster-sized

sign reading “You are offering the children on Big Pharma’s alter!”

      29.    Prior to the start of the public comment period on February 7, 2022,

the Board voted to enforce its policy barring placards and banners from the

meeting room.


6
 See Big Spring School District meeting minutes of January 10, 2022, available at
https://www.bigspringsd.org/cms/lib/PA02207410/Centricity/Domain/69/1-10-
22%20Board%20Meeting%20Minutes.pdf.
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      30.    Board member Kenneth Fisher made a motion to remove the ban

placards and banners during the February 7, 2022, stating that he believed the

prohibition was a violation of individuals’ First Amendment rights; however, no

other Board member seconded Mr. Fisher’s motion. As a result, Mr. Fisher’s

motion failed.

      31.    During the first public comment period during the February 7, 2022

meeting, various members of the public criticized Defendants’ masking policy and

issues related to the masking of students.

      32.    After others had offered comments, Plaintiff Flynn offered public

comment, stating

      I want to address the presiding officer. Can you defend the fact that
      you’re not in violation of the law with your procedures you’ve just
      outlined today? And under what authority are you saying we can’t
      have signs? Are you guys that afraid of a sign? Does it bother you that
      much?

See Exhibit A.

      33.    After Plaintiff Flynn completed his comments, he sat down and

silently held up his sign. See Exhibit B.

      34.    Defendant Swanson instructed Plaintiff Flynn to lower his sign, and

Plaintiff Flynn refused to do so. Id.

      35.    Defendant then called for a 15-minute recess. Id.




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       36.      Following the recess, Plaintiff Reinford approached the podium to

address respecting constitutional rights. Id.

       37.      As Plaintiff Reinford spoke, Plaintiff Flynn continued to display his

sign. Id.

       38.      Defendant Swanson interrupted Plaintiff’s comments with his gavel

and called for an immediate end to the meeting. Id.

       39.      According to Defendant Swanson the meeting “was getting to be a

circus, so it was time to shut it down.” See Exhibit A.

       40.      According to Defendant Swanson, the reason for the prohibition on

signs is because signs “can … become a distraction and have led to the spread of

misinformation, including ‘falsehoods about misspending federal money’ in the

past.” See Exhibit B (quoting Swanson).

       41.      On February 10, 2022, Defendants issued no trespass letters to

Plaintiffs barring them from attending future public meetings.

       42.      In the February 10, 2022 letter issued by Superintendent Roberts to

Plaintiff Flynn, Defendants notified Plaintiff Flynn that he violated Board Policy

903 by holding a sign during its public meeting on February 7, 2022 and that, as a

result, he would be “considered a ‘trespasser’ and the appropriate authorities will

be notified immediately” if he was “on the premises or in any … District building”




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between the date of the letter and September 1, 2022. A copy of the no trespass

letter sent to Plaintiff Flynn is attached hereto as Exhibit D.

      43.    Although the issue was resolved as a result of their January 12, 2022

phone call, Superintendent Roberts sent a notice of no trespassing to Plaintiff

Reinford barring her from “on the premises or in any … District building” until

September 1, 2022, purportedly as a result of result of her placing a sticker on a

bathroom door. A copy of the no trespass letter sent to Plaintiff Reinford is

attached hereto as Exhibit E.

      44.    Both of the no trespassing letters were sent to the Cumberland County

Sheriff’s Office.

      45.    Since February 10, 2022, Plaintiffs have not attended any of

Defendants’ public meetings or provided public comment during any meetings out

of fear of being deemed a trespasser and arrested.

      46.    Defendants have limited the ability to offer public comments solely to

those attending in person. See Big Spring School District – May 2, 2022 Board

Meeting (“Anyone that wishes to speak during the public comment period must

attend in person”), attached hereto as Exhibit F.




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                          COUNT I
RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. 1983
FACIAL CHALLENGE TO BIG SPRINGS SCHOOL DISTRICT POLICY
         903, RESTRICTIONS OF PLACARDS AND SIGNS

      47.    The averments of the preceding paragraphs are incorporated herein by

reference.

      48.    The First Amendment embodies “a profound national commitment to

the principle that debate on public issues should be uninhibited, robust, and wide-

open, and that it may well include vehement, caustic, and sometimes unpleasantly

sharp attacks on government and public officials.” New York Times Co. v. Sullivan,

376 U.S. 254, 270 (1964).

      49.    The First Amendment’s protections extend to public speech at

Defendants’ school board meetings, by operation of the Fourteenth Amendment.

      50.    “The vigilant protection of constitutional freedoms is nowhere more

vital than in the community of American schools.” Shelton v. Tucker, 364 U.S.

479, 487 (1960).

      51.    “[A] public forum may be created by government designation of a

place or channel of communication for use by the public at large for assembly and

speech, for use by certain speakers, or for the discussion of certain subjects.”

Cornelius v. NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 802 (1985).




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      52.   A limited public forum is “a subcategory of the designated public

forum.” Barna v. Bd. of Sch. Dirs. of the Panther Valley Sch. Dist., 877 F.3d 136,

142 n.2 (3d Cir. 2017) (internal quotation marks omitted).

      53.   A school board meeting at which the public is allowed to speak is a

designated public forum limited to discussing school operation and governance.

Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 & n.7 (1983).

      54.   Accordingly, content-based restrictions on speech at school board

meetings are only permissible to the extent they “confine the forum to the limited

and legitimate purposes for which it was created.” Galena v. Leone, 638 F.3d 186,

199 (3d Cir. 2011) (internal quotation marks omitted).

      55.   Courts have referred to “limited public forums” and “nonpublic

forums” interchangeably and have, at times, questioned what distinction, if any,

exists between these categories. See Porter v. City of Philadelphia, 975 F.3d 374,

386 n.75 (3d Cir. 2020).

      56.   A nonpublic forum is “a space that is not by tradition or designation a

forum for public communication.” Minn. Voters All. v. Mansky, 138 S. Ct. 1876,

1885 (2018).

      57.   The government may reserve a nonpublic forum “for its intended

purposes, communicative or otherwise, as long as the regulation on speech is




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reasonable and not an effort to suppress expression merely because public officials

oppose the speaker’s view.” Id. at 1885 (quoting Perry, 460 U.S. at 46).

      58.    In order for a time, place and manner restriction on speech to be

reasonable, it must (1) be content-neutral, (2) be narrowly tailored to serve an

important governmental interest, and (3) leave open ample alternatives for

communication of information. Galena, 638 F.3d at 199.

      59.    “[S]igns are a form of expression protected by the Free Speech

Clause…” City of Ladue v. Gilleo, 512 U.S. 43, 48 (1994).

      60.    Here, Defendants’ categorical ban on all placards and signs at a public

meeting under Policy 903 violates the public’s freedom of expression and is not a

reasonable restriction on speech.

      61.    While Policy 903 is a content-neutral restriction on speech on paper

(but not, as discussed in Count II, as-applied), Policy 903 is not “narrowly tailored

to serve an important governmental interest” and is unconstitutionally overbroad.

      62.    Holding a sign during a public meeting is a form of silent expression

that does not interrupt or otherwise disrupt the proceedings of a public meeting.

      63.    In Tinker v. Des Moines Indep. Cmty. Sch. Dist., the United States

Supreme Court found that a school’s attempt to prohibit the silent wearing of

armbands by students to protest participation in the Vietnam War

unconstitutionally infringed upon First Amendment rights. 393 U.S. 503 (1969).


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      64.    In H. v. Easton Area Sch. Dist., the United States District Court for

the Eastern District of Pennsylvania issued a preliminary injunction against a

school district that prohibited the wearing of breast cancer awareness bracelets.

827 F. Supp. 2d 392 (E.D. Pa. 2011), aff’d sub nom. B.H. ex rel. Hawk v. Easton

Area Sch. Dist., 725 F.3d 293 (3d Cir. 2013).

      65.    The United States District Court for New Jersey similarly enjoined the

silent wearing of a button by school students in DePinto v. Bayonne Bd. of Educ.,

514 F. Supp. 2d 633 (D.N.J. 2007).

      66.    The Third Circuit Court of Appeals, in McCauley v. Univ. of the

Virgin Islands, rejected a wholesale prohibition of “any unauthorized or obscene,

offensive or obstructive sign,” holding that such a prohibition “is facially

overbroad in violation of the First Amendment.” 618 F.3d 232, 247-50 (3d Cir.

2010).

      67.    As with any other form of expression, signs may convey messages on

topics deemed germane by the public at public meetings, including potential

criticism of public agencies or public officials and regardless of whether school

board members want to hear such criticism or believe that it is fair.

      68.    The First Amendment prohibits the exclusion of these viewpoints

from public speech at school board meetings, regardless of the meeting’s forum

classification.


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      69.    While certain legitimate reasons may exist for prohibiting some

signage (such as, for example, signage encouraging drug use), the prohibition on

all signage is not narrowly tailored to further any government interest.

      70.    All Defendants are proper parties to this Count, as Defendants took

official action by voting to adopt a custom or practice of enforcing its policy

banning placards and banners during its meeting on February 7, 2022. See

generally 65 Pa.C.S. § 703 (defining “official action” as, in relevant part, “(2) The

establishment of policy by an agency. (3) The decisions on agency business made

by an agency. (4) The vote taken by any agency on any motion, proposal,

resolution, rule, regulation, ordinance, report or order.”).

      71.    By enforcing the prohibition on signage under Policy 903,

Defendants, under color of law, deprive Plaintiffs of the right to free speech in

violation of the First and Fourteenth Amendments to the United States

Constitution.

      72.    Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages; declaratory and preliminary and permanent

injunctive relief against continued enforcement and maintenance of Defendants’

unconstitutional customs, policies, and practices; and attorney fees and expenses

pursuant to 42 U.S.C. § 1988.




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      WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

         a. District Policy 903’s prohibitions on placards and banners during

            public meetings; and

         b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

      School District Board Policy 903’s speech prohibitions are unconstitutionally

      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;

   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.




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                         COUNT II
RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. 1983
  AS-APPLIED CHALLENGE TO BIG SPRINGS SCHOOL DISTRICT
     POLICY 903, RESTRICTIONS OF PLACARDS AND SIGNS


      73.    The averments of the preceding paragraphs are incorporated herein by

reference.

      74.    As applied to Plaintiffs, Defendants’ prohibition on signage under

Policy 903 fails to pass constitutional muster.

      75.    While Policy 903’s restriction on signs has been in place for a number

of years, Defendants have never previously enforced this policy with respect to

signage. See Exhibit B (Defendant Swanson: “we have never covered this

before…[we chose] not to follow right to the letter policy, which is my prerogative

and the [B]oard’s prerogative”).

      76.    Defendants have never previously banned individuals from school

grounds and school buildings on the basis of holding a sign.

      77.    Plaintiffs’ exercise of free speech by silently holding signs at public

meetings is fully protected by the First Amendment.

      78.    From September 7, 2021 to February 7, 2022, Plaintiffs held signs

during Defendants’ public meetings that were critical of Defendants and germane

to school policies.




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      79.    Defendants chose to selectively enforce its prohibition on signage

during its February 7, 2022 meeting because they disagreed with the messages

conveyed in the sign.

      80.    As-applied against Plaintiffs, Policy 903’s prohibitions on signage

violated and continue to violate Plaintiffs’ First Amendment right of free speech by

impermissibly discriminating against their speech on the basis of its content and

viewpoint.

      81.    Should the Board’s meetings be deemed nonpublic fora, these

prohibitions were and are not employed as reasonable regulations that advance the

meetings’ purposes, but rather serve only to suppress disfavored speech.

      82.    In violating Plaintiffs’ First Amendment rights, the individually

named defendants have acted in a manner that was reckless, callous, intentional, or

malicious.

      83.    They have singled out Plaintiffs for their views, conspired to target

their speech, and censored them by blanketly prohibiting them from attending

public meetings without any alternative means of being able to offer public

comment during public meetings. Such actions evince a profound hostility to

Plaintiffs’ well-established First Amendment rights.




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      84.      All Defendants are proper parties to this Count, as Defendants took

official action by voting to adopt a custom or practice of enforcing its policy

banning placards and banners during its meeting on February 7, 2022.

      85.      By enforcing these provisions against Plaintiffs, Defendants, under

color of law, deprived and continue to deprive Plaintiffs of the right to free speech

in violation of the First and Fourteenth Amendments to the United States

Constitution.

      86.      Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages, including punitive damages; declaratory and

preliminary and permanent injunctive relief against continued enforcement and

maintenance of Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

      WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

            a. District Policy 903’s prohibitions on placards and banners during

               public meetings; and

            b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

      School District Board Policy 903’s speech prohibitions are unconstitutionally


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      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;

   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.

                         COUNT III
RIGHT OF FREE SPEECH, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. 1983
     RETALIATION FOR EXERCISE OF FREE EXPRESSION

      87.      The averments of the preceding paragraphs are incorporated herein by

reference.

      88.      “The First Amendment right to free speech includes not only the

affirmative right to speak, but also the right to be free from retaliation by a public

official for the exercise of that right.” See Bartley v. Taylor, 25 F.Supp.3d 521

(M.D.Pa. 2014) (quoting Suarez Corp. Indus. v. McGraw, 202 F.3d 676, 685 (4th

Cir. 2000)).




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      89.    Retaliation is “actionable because retaliatory actions may tend to chill

individuals’ exercise of constitutional rights.” Id. (quoting ACLU v. Wicomico

County, Md., 999 F.2d 780, 785 (4th Cir. 1993)

      90.    “Because government retaliation tends to chill an individual’s exercise

of his First Amendment rights, public officials may not, as a general rule, respond

to an individual’s protected activity with conduct or speech even though that conduct

or speech would otherwise be a lawful exercise of public authority.” Id. (citing Balt.

Sun Co. v. Ehrlich, 437 F.3d 410, 415–416 (4th Cir. 2006)).

      91.    “A retaliation claim under 42 U.S.C. § 1983 must establish that the

government responded to the plaintiff’s constitutionally protected activity with

conduct or speech that would chill or adversely affect his protected activity.” Id.

(citing Balt. Sun Co., 437 F.3d at 416)

      92.    The question before this Court is whether “a similarly situated person

of ‘ordinary firmness’ reasonably would be chilled by the government conduct in

light of the circumstances presented in the particular case.” Id. (citing Balt. Sun Co.,

437 F.3d at 416).

      93.    Here, Plaintiffs have a history of engaging in protected conduct for

purposes of the First Amendment by making public comments and holding sings

during meetings of the Board from September 7, 2021 until Defendants banned

Plaintiffs from being on District property, including during public meetings.


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      94.    In response to Plaintiffs’ exercise of their First Amendment rights,

Defendants have retaliated against Plaintiffs by – three days after the February 7,

2022 meeting – completely banning them from District property. See Exhibits D and

E.

      95.    As repeatedly stated by various courts “a trespass warning that

completely bars a parent from school board meetings violates the parent’s freedom

of expression” because “the notice against trespass acted as a categorical ban on all

speech…” See Wilson v. North East Independent Sch. Dist., No. 5:14-CV-140-RP,

2015 WL 13716013 (W.D.Tex. Sept. 30, 2015); Cyr v. Addison Rutland Supervisory

Union, 60 F. Supp. 3d 536, 550 (D. Vt. 2014) (“[P]hysical participation in open

school board meetings is a form of local governance, and to the extent that [a banned

individual] cannot be present at these meetings to communicate directly with elected

officials, his First Amendment right of free expression is violated.”); Stevens v. Sch.

City of Hobart, No. 2:13-CV-336-PRC, 2015 WL 4870789, at *14 (N.D. Ind. Aug.

6, 2015) (“Keeping order on School property is a significant state interest. But an

outright ban is not narrowly tailored to achieve that interest…”).

      96.    With respect to Plaintiff Reinford, the pretextual reason offered by

Defendants for banning her from school property was because she allegedly placed

a single sticker on a bathroom door on January 10, 2022. See Exhibit E.




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      97.    Plaintiff Reinford and Superintendent Roberts discussed the issue on

January 12, 2022; however, Defendants took no action to prevent Plaintiff Reinford

from attending any future meetings, including the one held on February 7, 2022.

      98.    During the February 7, 2022 meeting, Plaintiff Reinford, during the

public comment period, was criticizing Defendants’ actions with respect to ensuring

constitutional rights are protected when she was interrupted by President Swanson,

and the meeting was abruptly adjourned.

      99.    Three days after Plaintiff Reinford was interrupted while publicly

criticizing Defendants (and a month after the alleged sticker incident), Defendants

issued the no trespass letter to Plaintiff Reinford.

      100. But for Plaintiff Reinford’s history of criticizing Defendants’ policies

during public meetings and comments during the February 7, 2022 meeting, she

would not have been completely banned from attending meetings or offering public

comments.

      101. Further, the temporal proximity between her February 7, 2022

comments and Defendants’ February 10, 2022 no trespass letter bolsters the causal

link between Plaintiff Reinford’s speech and Defendants’ retaliatory no trespass

letter. See Lauren W. v. Deflaminis, 480 F.3d 259, 267 (3d Cir. 2007).

      102. With respect to Plaintiff Flynn, the stated reason for banning him from

school district property is because he “held a sign up at [his] seat.” See Exhibit D.


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      103. The protected activity in which Plaintiff Flynn engaged (as he had since

September 7, 2021) was holding a sign during a public meeting on February 7, 2022.

      104. Defendants’ February 10, 2022 no trespass letter banned him from all

District property and did not provide any alternate means of providing public

comments.

      105. But for Plaintiff Flynn’s history of criticizing Defendants’ policies

during public meetings, comments during the February 7, 2022 meeting and holding

a sign during the February 7, 2022 meeting, he would not have been completely

banned from attending public meetings or offering public comments.

      106. Further, the temporal proximity between her February 7, 2022

comments and Defendants’ February 10, 2022 no trespass letter bolsters the causal

link between Plaintiff Flynn’s speech and Defendants’ retaliatory no trespass letter.

See Lauren W. v. Deflaminis, 480 F.3d 259, 267 (3d Cir. 2007).

      107. Defendants’ actions are not merely a de minimis inconvenience

because Plaintiffs have been categorically banned from attending public meetings

and offering public comments.

      108. Defendants’ conduct as set forth above is “sufficient to deter a person

of ordinary firmness from exercising his First Amendment rights.” Mun. Revenue

Servs., Inc. v. McBlain, 347 Fed.Appx. 817, 824 (3d Cir.2009) (unpublished) (citing

McKee v. Hart, 436 F.3d 165, 170 (3d Cir.2006)).


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       109. All Defendants are proper parties to this Count, as Defendants took

official action, on or about February 10, 2022, to authorize the sending of the no

trespass letters to Plaintiffs.

       110. By preventing Plaintiffs from attending public meetings or offering

public comments, Defendants, under color of law, retaliated and continue to retaliate

against Plaintiffs due to their exercise of free speech in violation of the First and

Fourteenth Amendments to the United States Constitution.

       111. Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages, including punitive damages; declaratory and

preliminary and permanent injunctive relief against continued enforcement and

maintenance of Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

       WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

          a. District Policy 903’s prohibitions on placards and banners during

              public meetings; and

          b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

       School District Board Policy 903’s speech prohibitions are unconstitutionally


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      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;

   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.

                          COUNT IV
 RIGHT TO PETITION, U.S. CONST. AMENDS. I, XIV, 42 U.S.C. § 1983
 AS-APPLIED CHALLENGE TO BAN FROM PUBLIC MEETINGS AND
            ABILITY TO MAKE PUBLIC COMMENTS

      112. The averments of the preceding paragraphs are incorporated herein by

reference.

      113. Plaintiffs’ ability to attend public Board meetings is fully protected by

the First Amendment right to petition the government for a redress of grievances.

      114. Plaintiffs’ ability to attend public meetings is also protected under the

Pennsylvania Sunshine Act. See 65 Pa.C.S. § 702(a) (“The General Assembly finds

that the right of the public to be present at all meetings of agencies and to witness

the deliberation, policy formulation and decision making of agencies is vital to the

enhancement and proper functioning of the democratic process and that secrecy in
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public affairs undermines the faith of the public in government and the public's

effectiveness in fulfilling its role in a democratic society.”); id. at 702(b) (“The

General Assembly hereby declares it to be the public policy of this Commonwealth

to ensure the right of its citizens to … to attend all meetings of agencies at which

any agency business is discussed or acted upon…”).

       115. As applied against Plaintiffs, the categorical banning of Plaintiffs from

District property through the no trespass letters violates and continue to violate

Plaintiffs’ First Amendment right to petition by preventing them from attending

public meetings and from offering public comment at such meetings.

       116. Defendants have not offered any alternative means by which Plaintiffs

can participate and offer public comments during meetings.

       117. All Defendants are proper parties to this Count, as Defendants took

official action, on or about February 10, 2022, to authorize the sending of the no

trespass letters to Plaintiffs.

       118. By enforcing these provisions against Plaintiffs, Defendants, under

color of law, deprived and continue to deprive Plaintiffs of the right to petition in

violation of the First and Fourteenth Amendments to the United States Constitution.

       119. Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages, including punitive damages; declaratory and

preliminary and permanent injunctive relief against continued enforcement and


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maintenance of Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

      WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

         a. District Policy 903’s prohibitions on placards and banners during

            public meetings; and

         b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

      School District Board Policy 903’s speech prohibitions are unconstitutionally

      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;

   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.




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                         COUNT V
 PROCEDURAL DUE PROCESS, U.S. CONST. AMEND. XIV, 42 U.S.C. §
 1983 CHALLENGE TO BAN FROM PUBLIC MEETINGS AND ABILITY
               TO MAKE PUBLIC COMMENTS

       120. The averments of the preceding paragraphs are incorporated herein by

reference.

       121. By barring Plaintiffs from attending public meetings and not providing

any alternative means of providing public comments without a mechanism to

challenge such restrictions, Defendants have violated Plaintiffs’ procedural due

process rights.

       122. As set forth above, Plaintiffs possess liberty interests in engaging in

free expression and in petitioning their government at public meetings under the First

Amendment.

       123. Neither of the no trespass letters afford Plaintiffs any means by which

to challenge the deprivation of rights protected under the First Amendment.

       124.    All Defendants are proper parties to this Count, as Defendants took

official action, on or about February 10, 2022, to authorize the sending of the no

trespass letters to Plaintiffs.

       125. By enforcing these provisions against Plaintiffs, Defendants, under

color of law, deprived and continue to deprive Plaintiffs of the right to petition in

violation of the First and Fourteenth Amendments to the United States Constitution.



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      126. Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages, including punitive damages; declaratory and

preliminary and permanent injunctive relief against continued enforcement and

maintenance of Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

      WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

         a. District Policy 903’s prohibitions on placards and banners during

            public meetings; and

         b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

      School District Board Policy 903’s speech prohibitions are unconstitutionally

      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;




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   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.

                               COUNT VI
                CONSPIRACY TO VIOLATE CIVIL RIGHTS,
                U.S. CONST. AMENDS. 1, XIV, 42 U.S.C. § 1983

      127. The averments of the preceding paragraphs are incorporated herein by

reference.

      128. The Board Defendants conspired to violate Plaintiffs’ First Amendment

rights of free speech and petition by barring, under color of state law, their ability to

attend public meetings and to offer public comments.

      129. The no trespass letters sent to Plaintiffs document Defendants’

unlawful agreement to ban Plaintiffs from school board meetings and prevent

Plaintiffs from making any further public comments critical of Defendants.

      130. By conspiring to deprive Plaintiffs of their First Amendment speech

and petition rights under color of state law, and thereafter following through and

implementing said conspiracy, Defendants, under color of law, deprived and

continue to deprive Plaintiffs of the rights to free speech and petition in violation of

the First and Fourteenth Amendments to the United States Constitution.

      131. Plaintiffs are thus damaged in violation of 42 U.S.C. § 1983, and are

therefore entitled to damages, including punitive damages; declaratory and


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preliminary and permanent injunctive relief against continued enforcement and

maintenance of Defendants’ unconstitutional customs, policies, and practices; and

attorney fees and expenses pursuant to 42 U.S.C. § 1988.

      WHEREFORE, Plaintiffs request that judgment be enter in their favor and

against Defendants as follows:

   1. An order permanently enjoining Defendants from enforcing:

         a. District Policy 903’s prohibitions on placards and banners during

            public meetings; and

         b. Defendants’ no trespass letters issued to Plaintiffs;

   2. Declaratory relief consistent with the injunction, to the effect that Big Spring

      School District Board Policy 903’s speech prohibitions are unconstitutionally

      void and unenforceable as they violate the First Amendment rights of free

      speech and petition;

   3. An award of nominal damages to Plaintiffs in the amount of $17.76;

   4. Against Defendants John Wardle, William Swanson, Robert Over, Kenneth

      Fisher, Frank Myers, Todd Deihl, Richard Roush and Williams Piper, an

      award of punitive and exemplary damages to Plaintiffs;

   5. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C. § 1988;

      and

   6. Any other relief as the Court deems just and appropriate.


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                             Respectfully Submitted,

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